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   8                         UNITED STATES DISTRICT COURT
   9                      SOUTHERN DISTRICT OF CALIFORNIA
  10
  11    UNITED STATES OF AMERICA,                         Criminal Case No. 11CR1448-MMA
  12                                 Plaintiff,           JUDGMENT AND ORDER OF
                                                          DISMISSAL
  13                          v.
  14
        HITESH VINOD PATEL, GAYATRI
  15    INVESTMENTS, LLC,

  16                                 Defendant.

  17
              GOOD CAUSE APPEARING and upon the motion of the Government, IT IS HEREBY
  18
       ORDERED that the Second Superseding Indictment in the above entitled case against defendants
  19
       Hitesh Vinod Patel and Gayatri Investments, LLC is dismissed without prejudice. The
  20
       defendants are hereby discharged.
  21
              IT IS SO ORDERED.
  22
  23    Dated: 3/7/2012
                                                          MITCHELL D. DEMBIN,
  24                                                      United States Magistrate Judge
                                                          United States District Court
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